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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                  MIDLAND/ODESSA DIVISION

STATE OF TEXAS, et al.,                             §
  Plaintiffs,                                       §
                                                    §
v.                                                  §       Case No. MO:23-CV-00047-DC
                                                    §
UNITED STATES DEPARTMENT OF                         §
THE INTERIOR et al.,                                §
  Defendants.                                       §



                                      ORDER AND ADVISORY
       Before the Court is the above-styled and numbered cause. The Court has received the parties’
responsive pleading(s) and therefore enters the following Order and Advisory:
       So that this Court may efficiently manage its docket, the District Judge of the Midland/Odessa and
Pecos Divisions of the Western District of Texas has implemented a procedure whereby a United States
Magistrate Judge is assigned to each civil case at the time it is filed. The Magistrate Judge assigned to
cases pending in the Midland/Odessa Division is Ronald C. Griffin. The Magistrate Judge assigned to
cases pending in the Pecos Division is David B. Fannin. If a pretrial matter is referred by the District
Judge, it will be handled by the Magistrate Judge to whom the case is assigned. Similarly, if the parties
consent to Magistrate Judge jurisdiction, the case will be placed on the docket of the assigned Magistrate
Judge for all future proceedings, including entry of final judgment. 28 U.S.C. § 636(c).
       The parties are hereby ORDERED to notify the Court whether or not they consent under 28
U.S.C. § 636(c) to Magistrate Judge jurisdiction.
       It is so ORDERED.
       SIGNED this 1st day of June, 2023.




                                                DAVID COUNTS
                                                UNITED STATES DISTRICT JUDGE
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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                 MIDLAND/ODESSA DIVISION

STATE OF TEXAS, et al.,                            §
  Plaintiffs,                                      §
                                                   §
v.                                                 §        Case No. MO:23-CV-00047-DC
                                                   §
UNITED STATES DEPARTMENT OF                        §
THE INTERIOR et al.,                               §
  Defendants.                                      §



                             ADVISORY TO THE CLERK OF COURT

        The undersigned party in the above-captioned case elects as follows (please select only one of the

following options):

               I CONSENT to proceed before a United States Magistrate Judge in accordance with
                provisions of 28 U.S.C. § 636. The undersigned party in the above-captioned case waives
                the right to proceed before a United States District Judge and consents to have a United
                States Magistrate Judge conduct any and all further proceedings in this case, including
                rendering a decision, and to order the entry of final judgment. Any appeal shall be taken
                to the United States Court of Appeals for the Fifth Circuit in accordance with 28 U.S.C. §
                636(c)(3).

               I DO NOT CONSENT to proceed before a United States Magistrate Judge. The
                undersigned party in the above-captioned case elects not to have this case decided by a
                United States Magistrate Judge and prefer that this case proceed before the District Judge.


Party or Party Represented              Signature of Party or Party’s Attorney            Date

______________________                  _____________________________                     ____________

______________________                  _____________________________                     ____________
